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11
                              UNITED STATES DISTRICT COURT
12
                         SOUTHERN DISTRICT OF CALIFORNIA
13
14   UNITED STATES OF AMERICA,               Case No.: 21-CR-2542-TWR
15               Plaintiff,                  Date: September 16, 2022
16                                           Time: 9:30 a.m.
           v.
17
                                             The Honorable Todd W. Robinson
18   GLENN ARCARO,
                                             THE UNITED STATES OF AMERICA’S
19               Defendant                   SENTENCING SUMMARY CHART
20        COMES NOW the plaintiff, UNITED STATES OF AMERICA, by and through its
21 counsel, LORINDA I. LARYEA, Acting Chief, Kevin Lowell, Trial Attorney, and RANDY
22 S. GROSSMAN, United States Attorney, Lisa J. Sanniti, Special Assistant U.S. Attorney,
23 Mark W. Pletcher, and Carl Brooker, Assistant U.S. Attorneys, hereby files its Sentencing
24 Summary Chart, which is based upon the files and records of this case.
25
          DATED: September 2, 2022                   Respectfully submitted,
26                                                   RANDY S. GROSSMAN
27                                                    United States Attorney
                                                     /s/ LISA J. SANNITI
28                                                   Special Assistant U.S. Attorney
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                    SENTENCING SUMMARY CHART                                                                          USPO [☐]
        [ ☒ ] AND GOVERNMENT MOTION UNDER USSG § 3E1.1(b)]                                                            AUSA [☒]
                    Sentencing Date: September 16, 2022                                                                DEF [☐]
Defendant’s Name: GLENN ARCARO                             Docket No.: 21-CR-2542-TWR
Attorney’s Name:                          Lisa J. Sanniti                         Phone No.:            619-546-8811
Guideline Manual Used:                       November 2021
Base Offense Level: Conspiracy to commit wire fraud [USSG § 2B1.1(a)(2)]                                                            7


Specific Offense Characteristics: Financial Gain [USSG § 2B1.1(K) (>9.5M)]                                                        +20


Victim Related Adjustment: 10+ Victims/Mass Marketing [USSG §2B1.1(b)(1)A)]                                                        +2
Adjustment for Role in the Offense: Aggravating Role [USSG § 3B1.1(c)]                                                             +2
Adjustment for Obstruction of Justice:
Adjustment for Reckless Endangerment During Flight:
Adjusted Offense Level:                                                                                                            31
☐ Combined (Mult. Counts) ☐ Career Off.                              ☐Armed Career Crim.
Adjustment for Acceptance of Responsibility [☒ Government Motion – USSG §3E1.1(b)]                                                 -3
Total Offense Level:                                                                                                                28
Criminal History Score:                                                                                                             0
Criminal History Category:                                                                                                          I
            Career Offender        Armed Career Criminal
Guideline Range:                                                                                                 from       78 mths
(Range limited by:      minimum mand.     statutory maximum                                                         to      91 mths

Departures:
           Combination of Circumstances [USSG § 5K2.0]                                                                            -1*
           Government’s sealed request for downward departure                                                                     -5
Resulting Guideline Range: Adjusted Offense Level 22                                                             from        41 mths
                                                                                                                    to       51 mths

GOVERNMENT RECOMMENDATION: 44 months’ custody; 3 years’ supervised release; no
fine; forfeiture and restitution to be determined at a later hearing; $100 special assessment.
*The combination of circumstances includes Defendant entering into the Plea Agreement at an early stage of the investigation, and turning
over a substantial amount of cryptocurrency, thereby saving Government resources.
